Case 1:17-cv-21382-DPG Document 9 Entered on FLSD Docket 05/10/2017 Page 1 of 2



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA



 AMERICAN CIVIL LIBERTIES UNION OF                  )
 FLORIDA,                                           )
                                                    )
                                                    )
                          Plaintiff,                )
                                                    ) Case No. 1:17-cv-21382-DPG
         v.                                         )
                                                    )
 U.S. DEPARTMENT OF HOMELAND                        )
 SECURITY and U.S. CUSTOMS AND                      )
 BORDER PROTECTION,                                 )
                                                    )
                          Defendants.               )


                                            SUMMONS

 To:     U.S. Department of Homeland Security
         The Honorable John F. Kelly
         Secretary of Homeland Security
         Washington, D.C. 20528

         A lawsuit has been filed against you.

          Within 21 days after service of this summons on you (not counting the day you received
 it) – or 60 days if you are the United States or a United States agency, or an officer or employee
 of the United States described in Fed. R. Civ. P. 12 (a)(2) or (3) – you must serve on the plaintiff
 an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil
 Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose
 name and address are:
         Nancy G. Abudu
         ACLU of Florida
         4343 West Flagler St., Suite 400
         Miami, FL 33134
         Tel: (786) 363-2707
         Fax: (786) 363-1108
         nabudu@aclufl.org

       If you fail to respond, judgment by default will be entered against you for the relief
 demanded in the complaint. You also must file your answer or motion with the court.


                                                       CLERK OF COURT

 Date:                                                                                   _
                                                       Signature of Clerk or Deputy Clerk
Case 1:17-cv-21382-DPG Document 9 Entered on FLSD Docket 05/10/2017 Page 2 of 2



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                                                    )
                          Defendants.               )


                                            SUMMONS

 To:     U.S. Customs and Border Protection
         Miami Field Office
         909 S.E. 1st Avenue, Ste. 980
         Miami, FL 33131
         A lawsuit has been filed against you.

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                                                       Signature of Clerk or Deputy Clerk
